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 5

 6                 IN THE UNITED STATES DISTRICT COURT FOR THE

 7                        EASTERN DISTRICT OF CALIFORNIA

 8
     UNITED STATES OF AMERICA,        )   CASE NO. 1:06CR0365 LJO
 9                                    )
                       Plaintiff,     )   STIPULATION AND ORDER TO CONTINUE
10                                    )   TRIAL DATE
                 v.                   )
11                                    )   DATE: February 7, 2011
                                      )   TIME: 8:30 a.m.
12   ABDEL BASET JAWAD, et al.,       )   PLACE: Courtroom Four
                                      )   Honorable Lawrence J. O’Neill
13                     Defendants.    )

14

15           The parties herein, through their respective counsel, hereby

16   agree and stipulate that the trial date be continued from

17   September 7, 2010, until February 7, 2011, and the trial

18   confirmation date be continued from August 6, 2010, until January

19   7, 2010.

20           The reason for this request is that the lead counsel for the

21   government, AUSA Stan Boone, will be returning to the Eastern

22   District of California from detail in Washington, D.C. on June 28,

23   2010.    AUSA Boone is planning on taking leave to be with family

24   upon his return, and, due to his expected duties and caseload, he

25   will be unable to adequately prepare for trial in September.

26           Therefore, the United States respectfully requests that the

27   trial date be continued and that time be excluded pursuant to 18

28   U.S.C. § 3161(7)(A).

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 1        The parties further stipulate and agree that the resulting

 2   period of delay occurring between September 7, 2010, until

 3   February 7, 2011, shall be excluded from speedy trial calculations

 4   for the motions in limine and in the interests of justice so that

 5   defendant and the government can have sufficient time to prepare

 6   for trial and to file motions.

 7

 8   Dated: June 2, 2010                      BENJAMIN B. WAGNER
                                              United States Attorney
 9
                                        By: /s/
10                                          MARK E. CULLERS
                                            Assistant U.S. Attorney
11

12   Dated:
                                              SALVATORE SCIANDRA
13                                            Attorney for Defendant
                                              Abdel Baset Jawad
14

15
     Dated:
16                                            ROGER K. LITMAN
                                              Attorney for Defendant
17                                            Abdul Muniem Jawad

18
     Dated:
19                                            ANTHONY P. CAPOZZI
                                              Attorney for Defendant
20                                            Najeh Kamal Jawad

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 9                                       )
                          Plaintiff,     )     STIPULATION AND ORDER TO CONTINUE
10                                       )     TRIAL DATE
                   v.                    )
11                                       )     DATE: February 7, 2011
                                         )     TIME: 8:30 a.m.
12   ABDEL BASET JAWAD, et al.,          )     PLACE: Courtroom Four
                                         )     Honorable Lawrence J. O’Neill
13                        Defendants.    )

14

15

16                                       O R D E R

17            IT IS HEREBY ORDERED THAT, the date previously set for the

18   trial is hereby continued to February 7, 2011 at 8:30 a.m., and

19   the trial conference date be continued to January 7, 2011.           It is

20   further ordered that time shall be excluded from September 7,

21   2010, until February 7, 2011.           GOOD CAUSE barely exists.

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     IT IS SO ORDERED.
24
     Dated:     June 9, 2010                  /s/ Lawrence J. O'Neill
25   b9ed48                               UNITED STATES DISTRICT JUDGE

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